Case 5:18-cr-00258-EJD Document 1208-3 Filed 12/20/21 Page 1 of 16




                  EXHIBIT 2
Case 5:18-cr-00258-EJD Document 1208-3 Filed 12/20/21 Page 2 of 16




                         Trial Exh. 5400 Page 0001
Case 5:18-cr-00258-EJD Document 1208-3 Filed 12/20/21 Page 3 of 16




                         Trial Exh. 5400 Page 0002
Case 5:18-cr-00258-EJD Document 1208-3 Filed 12/20/21 Page 4 of 16




                         Trial Exh. 5400 Page 0003
Case 5:18-cr-00258-EJD Document 1208-3 Filed 12/20/21 Page 5 of 16




                         Trial Exh. 5400 Page 0004
Case 5:18-cr-00258-EJD Document 1208-3 Filed 12/20/21 Page 6 of 16




                         Trial Exh. 5400 Page 0005
Case 5:18-cr-00258-EJD Document 1208-3 Filed 12/20/21 Page 7 of 16




                         Trial Exh. 5400 Page 0006
Case 5:18-cr-00258-EJD Document 1208-3 Filed 12/20/21 Page 8 of 16




                         Trial Exh. 5400 Page 0007
Case 5:18-cr-00258-EJD Document 1208-3 Filed 12/20/21 Page 9 of 16




                         Trial Exh. 5400 Page 0008
Case 5:18-cr-00258-EJD Document 1208-3 Filed 12/20/21 Page 10 of 16




                         Trial Exh. 5400 Page 0009
Case 5:18-cr-00258-EJD Document 1208-3 Filed 12/20/21 Page 11 of 16




                         Trial Exh. 5400 Page 00010
Case 5:18-cr-00258-EJD Document 1208-3 Filed 12/20/21 Page 12 of 16




                         Trial Exh. 5400 Page 00011
Case 5:18-cr-00258-EJD Document 1208-3 Filed 12/20/21 Page 13 of 16




                         Trial Exh. 5400 Page 00012
Case 5:18-cr-00258-EJD Document 1208-3 Filed 12/20/21 Page 14 of 16




                         Trial Exh. 5400 Page 00013
Case 5:18-cr-00258-EJD Document 1208-3 Filed 12/20/21 Page 15 of 16




                         Trial Exh. 5400 Page 00014
Case 5:18-cr-00258-EJD Document 1208-3 Filed 12/20/21 Page 16 of 16




                         Trial Exh. 5400 Page 00015
